s the Dread Pirate Roberts
Silk ROa@ddse 1°FFFBOGEEE CS Be nent 256-8 Filed 05/26/15 Page 1 of 8 x

anonymous market

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Search

sort by: | bestse li ng

PUY We PE!

Herbal Smoking Blend
with 4% JWH-018

‘GH MY GOO IM S0-FUCKING STONED

Keeley oi

no image

[| Domestic only | update |

3.5grams 100% pure JWH-018

seller: alkaloyd 0.0
ships from: United States of America

5F-UR-144 - 1g - Pure and Domestic

seller: illegal entrepreneur 0.0
ships from: United States of America

JWH-073 1g - synthetic THC magic

seller: nawlins 0.0
ships from: United States of America

OMG I'M SO FUCKING STONED 3g @ 4%
JWH-018 FRESH

seller: nawlins 0.0
ships fram: United States of America

BRAIN DAMAGE 5g of each JWH-018 & 073 @ 4%

blends

seller: nawlins 0.0
ships fram: United States of America

1 One gram JWH-018

seller: FatBurger 0.0
ships from: United States of America

Go

igram of Ultra Pure JWH-018 99+% pure white

powder

seller: alkaloyd 0.0

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me he to on

me Po Go on

Hi, FBINY 0
fogout

discuss this category 0

BO.3707
add to cart

BO.0897
add to cart

BO.2614

add to cart

BO.1493
add to cart

BO.2237

add to cart

BO.2241

add to cart

BO.1486

add to cart
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anonymous market Search a Hi, FBINY 0

fogout
Shop by Category
xs Astro Turf « Syntheic Cannabis 30g | 5F-UR-144
Item info:
BO.3734 seller illegal entrepreneur 0.0

ships from United States of America
add to cart bookmark | discuss 0 | report E

ships to Worldwide
category Smoking Blend

postage options
| combined (0.0000) ||?)

Description

s: Astro Turf « - 30g - 5F-UR-144

INFO:

Name: Astro Turf

Net Weight: 30g

Price Per Gram: $1.65

Scent: None

Strength: 2g:10z chemi/leaf ratio
Leaf(s) Used: Damiana
Chem(s) used: 5F-UR-144

SHIPPING:

Please only choose “Ships Free” if it says free shipping in the title.

| promise to only sell the best and purest spice and chem. on the market. My spice is never full of stems and my chem. is never cut!
Become a Fan!! Keep an eye on my seller page for new blends.

if you have any questions please message me!

“SEE SELLER PAGE FOR PGP***

Reviews:
sortby:|freshness | | go. (2)
King Salami review for: a Astro Turf o Syntheic Cannabis 30g |5F-UR-144 qty: 1 price: BO+ iy 8mold | 5o0f5
orders spent vendors Perfect stealth. Just had 2 cones mixed and | am nicely stoned. Great stuff, came quick to Aus and wasn't intercepted
10+ 61+ 10+ by Kangaroos. | will definitely be back.
alias hidden review for: o Astro Turf o Syntheic Cannabis 30g | 5F-UR-144 jylimold 5of5

stats: (hidden) gotta mow that astro-turf, man.
i he Dread Pirate Roberts
Silk ROadse 1°£FE6008ELGS"BBUinent 256-8 Filed 05/26/15 Page3of8 x

anonymous market Saareh a Hi, FBINY 0
fogout
Shop by Category
Item info:
BO.9207 seller BURN CITY 0.0
; ships from = Australia
add to cart bookmark | discuss 0 | report P
ships to Australia
category Synthetic
postage options:
| EXPRESS POST (80.033 z
Description
Our synthetic weed is super strong. | can't let you know the chemical makeup as it's currently legal in AUS and | don/t want it getting found out. We are
ex suppliers in a big was in AUS and now due to federal bans we have gone underground. Rest assure the blends we use although SUPER STRONG
are legit and not harmful stuff.
We do however recommend you toke lightly. Give it 2-4 tokes and wait a few minutes. If smoking through a bong have a half cone first. Guys its really
strong.
Reviews:
sort by: | freshness. go
free2?c review for: 7G SUPER STRONG SYNTHETIC MARIJUANA -AUS VENDOR-— qty: i price: BO+ iy 8mold | 5o0f5
orders spent vendors Arrived super quickly, superb stealth method and I'm sure I've tried some before bcoz | recognise the look and smell - so
10+ 8100+ 10+ | know it's the best synth available atm (and it's legal, too!) Huge props to BURN CITY - count on me for repeat business!
alias hidden review for: 7G SUPER STRONG SYNTHETIC MARIJUANA -AUS VENDOR- ly 9mold 5o0f5
stats: (hidden) Superb quality and great high as per usual. Thanks Burn City, you are the original and the best.
alias hidden review for: 7G SUPER STRONG SYNTHETIC MARIJUANA -AUS VENDOR- ly 9mold 5of5
stats: (hidden) awesome as always
alias hidden review for: 7G SUPER STRONG SYNTHETIC MARIJUANA -AUS VENDOR- lySmold 5of5
stats: (hidden) lovely
alias hidden review for: 7G SUPER STRONG SYNTHETIC MARIJUANA -AUS VENDOR- lySmold 5o0f5

stats: (hidden)

V2 a bong half an hour ago and I'm still ripped. This stuff is strong and has serious legs. Delivery was next day as
guaranteed. A+++
. the Dread Pirate Roberts
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anonymous market Search Hi, FBINY 0

Go fogout

Shop by Category

BRAIN DAMAGE 5g of each JWH-018 & 073 @ 4% blends

Item info:
BO.2237 seller nawlins 0.0

: ships from United States of America
add to cart bookmark | discuss 0 | report E

ships to United States of America

category Smoking Blend

options

| Priority Mail USA (B0.( 3

Description

5 grams each of two very strong smoking blends made with the legendary synthetic cannabinoids JWH-018 and JWH-073.

5g of JWH-018 at 4% blend.
5g of JWH-073 at 4% blend.

Ten grams total.
Remember kids, Don't forget your screens....

in Brass: http://silkroadvbSpizsr.onion/silkroad/item/97069ff760
or Stainless Steel: hitp://silkroadvb5piz3r.onion/silkroad/item/60f58b49aa

Reviews:

sort by: | freshness go

irishjunkie420 review for! BRAIN DAMAGE 5g of each JWH-018 &€ 073 @ 4% Blends gqty:3 price: BO+ iy7mold 5of5
orders spent vendors Perfect Transaction A+++

10+ 810+ 10+

bobdolelll review for: BRAIN DAMAGE 5g of each JWH-018 & 073 @ 4% Blends qty: 1 price: BO+ ly 7mold | 50f5
orders spent vendors Good packaging, solid weight on the product, and reasonable stealth. Took a little bit longer than expected to ship, but that

14+. B+ 1+ might have just been the weekend too. Seems like a pretty solid seller!
ojsam329 review for: BRAIN DAMAGE 5g of each JWH-018 & 073 @ 4% blends gqty:1 price: BO+ ly7mold | 50f5
orders spent vendors Nice stealth, good packaging! Product looks good! Would recommend!

10+ 61+ 10+

jeebuskreyest review for: BRAIN DAMAGE 5g of each JWH-018 & 073 @ 4% blends = gty:1 price: BO+ ly7mold 5of5
orders spent vendors A#1 Joel!
10+ 8100+ 10+

Jeebus wut is this stuff? LOL

Me Love you Long Time Joe :-)
. the Dread Pirate Roberts
Silk ROa@ddse 1°FFFBOGEEE CS BI nent 256-8 Filed 05/26/15 Page 5 of 8 x

anonymous market Search Go Hi, FBINY 0
fogout
Shop by Category

3g Kush Synthetic Blend Sale HOT !

Item info:
BO.1529 seller CrystalMethCat 0.0
add to cart bookmark | discuss 3 | report Ses eee Semey
ships to Worldwide
category Smoking Blend

postage options:

| Free (0.0000)

Description

Hi friends !

$S*SALE ON ALL MY SYNTHETIC CANNA BLENDS*S$

CHOOSE 4 IN QUANTITY OF ANY OF MY BLENDS LISTED AND GET A5TH ONE FOR FREE !!
Or

CHOOSE 10 IN QUANTITY OF ANY OF MY BLENDS LISTED AND GET 3PACKS FOR FREE !!

BUY 4 PACKS AND GET 5! |

Here i offer u 1 Pack of famous Kush 3g Blend ! Youll get the original sealed ZipperBag, containing 3g of Herbals. Strength is 9/10.
Its the original recipe mixture, no cheap imitate !

Check it out

Reviews:

sort by: | freshness go

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Silk RoOaddse 146086 LCE"BSMUMnent 256-8 Filed 05/26/15 Page6ofs a

anonymous market Search a Hi, FBINY 0
fogout
Shop by Category
CP 47,497 / Cannabicyclohexanol - 100g
Item info:
13.4110 seller bigimpact 0.0
hips f Czech Republic
addtocart bookmark  discusso report See eee
ships to Worldwide
category Chemicals
postage options: a
| European Union (B0.07 (2?)
Description
CP 47,497 / Cannabicyclohexanol
2-[(1R,3S)-3-hydroxycyclohexyl]- 5-(2-methyloctan-2-yl)phenol
This is the C8 - or 1,1, dimethyloctyl homologue - of CP 47,497, which is several times more potent than standard CP 47,497. It is one of the most
potent synthetic cannabinoids, around 20x stranger than THC. The product should be used sparingly, it is normally dissolved in warm alcohol and
evaporated off of a smokeable herb. If using neat, use in very small quantities.
CP 47,497 is a cannabinoid receptor agonist drug, developed by Pfizer in the 1980s.[1] It has analgesic effects and is used in scientific research. Itisa
potent CB1 agonist with a Kd of 2.1nM. The compound is widely illegal in Europe and the far East since the ingredients of Spice were found.
Chemical formula: C21H3402
CAS number: 70434-82-1
We ship super stealth, in heat sealed, triple layered, odour free pouches.
Reviews:
sort by: | Freshness || go] @
alias hidden review for: CP 47,497 / Cannabicyclohexanol - 100g ly 9mold 5of5
stats: (hidden) Leave feedback here

#1 = 81.0000 community forums | wiki support
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Go fogout

Shop by Category

1/2 OZ Stupid Strong Spice *CHEAP*

ltem info:
BO.2614 seller jimithing 0.0

: ships from United States of America
add to cart bookmark | discuss 0 | report E

ships to United States of America

category Smoking Blend

postage

options:

multi item order alrea (”

Description

This is our “Stupid Strong” straight spice blend we use a stupid high ratio of noids to blend. You will not find a blend with a higher ratio out there. This
blend used 100% destimmed and cleaned marshmellow leaf and tons of AM-2201 and 5F-AKB48 in just the right ratio and for basement level prices.

Reviews:

sort by: | freshness go

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Silk Roaddse 1°F4¢F60d68Pco"BSMUment 256-8 Filed 05/26/15 Pagesofs a

anonymous market Search a Hi, ay 0
jogout

Shop by Catego ry

JWH-018 - 30g

Item info:
B3.8334 seller bigimpact 0.0
ships from Czech Republic
ships to Worldwide

addtocart bookmark discusso report
category Chemicals

postage options: :
| European Union (B0.07 (2?)

Description

JWH-018
Naphthalen-1-yl-(1-pentylindal-3-yl)methanone

The original ingredient of the legendary Spice is still one of the most popular synthetic ingredients. Ours is 99.9% certified pure and absolutely top
quality.

JWH-018 (1-pentyl-3-(1-naphthoylindole) or AM-678[1] is an analgesic chemical from the naphthoylindole family that acts as a full agonist at both the
CB1i and CB2 cannabinoid receptors, with some selectivity for CB2.

Chemical formula: C24H23NO
CAS number: 209414-07-3

We ship in heat sealed, triple layered, odour free pouches and send in extreme stealth.

Reviews:
sort by: | Freshness || go] @
alias hidden review for: JWH-018 - 30g ly 9mold 5of5
stats: (hidden) Brilliant as always
alias hidden review for: JWH-O18 - 20g ly9mold 5Sofs
Stats: (hidden) Leave feedback here

#1 = 81.0000 community forums | wiki support
